                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
__________________________________________
                                             )
Global Force Entertainment, Inc. and Jeffrey )
Jarrett,                                     )
                                             )
              Plaintiffs,                    )
                                             )
v.                                           )   Case No. 3:18-cv-00749
                                             )
Anthem Wrestling Exhibitions, LLC,           )
                                             )
              Defendant.                     )
__________________________________________)

             DEFENDANT’S MOTION FOR JUDGMENT AS A MATTER OF LAW

       Pursuant to Rule 50(a) of the Federal Rules of Civil Procedure, Defendant Anthem

Wrestling Exhibitions, LLC respectfully requests this Court to grant judgment as a matter of law

on: (1) Defendant’s license defense, which would bar liability on Plaintiffs’ claims for (i)

trademark infringement under the Lanham Act or Tennessee law, (ii) unfair competition under the

Lanham Act or Tennessee law, (iii) trademark counterfeiting under the Lanham Act, (iv) alleged

violations of the Tennessee Consumer Protection Act, (v) common law unjust enrichment, or (vi)

alleged violations of the Tennessee Personal Rights Protection Act (“TPRPA”); (2) the invalidity

of Plaintiff Global Force Exhibitions, Inc.’s (“GFE”) trademark registration for the mark

GLOBAL FORCE WRESTLING; (3) dismissal of GFE’s claim for conversion; (4) dismissal of

GFE’s claim for negligence; (5) dismissal of Plaintiffs’ claim for statutory damages under the

Lanham Act; and (6) dismissal of GFE’s claim for punitive damages. As discussed more fully in

the memorandum filed contemporaneously in support of this Motion, these claims should be

dismissed as a matter of law due to Plaintiffs’ failure to present sufficient evidence at trial that

would permit a reasonable jury to find for Plaintiff on these claims.




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                                                    Respectfully Submitted,

                                                    BASS, BERRY & SIMS PLC

                                                    /s/ Paige W. Mills
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 20, 2020, I electronically filed the foregoing document with
the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing
to the following and/or served the following via U.S. Mail:

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                                                    /s/ Paige W. Mills




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